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                                             February 19, 2025

 Via ECF
 Magistrate Judge Leda D. Wettre
 United States District Court – District of New Jersey
 Martin Luther King Federal Building & U.S. Courthouse
 50 Walnut Street
 Newark, NJ 7101

        RE:     Belinda Barthelus v. Wal-Mart Stores, Inc., et al.
                Case No. 2:23-cv-22725-WJM-LDW
                Our File No. 2521.00097

 Dear Judge Wettre:
        This office represents the Defendant Wal-Mart Stores, Inc. in the above-referenced matter.
 Please accept the following as a status update regarding discovery.

         The parties have exchanged written discovery responses. Plaintiff appeared for their
 independent medical examination with Defendant's expert, and the corresponding expert reports
 have been served by Defendant. The deposition of Plaintiff took place on February 5, 2025. The
 parties entered into a Confidentiality Agreement governing the exchange of discovery and all
 supplemental document production has been produced by Defendant accordingly. At this time,
 Plaintiff’s Counsel indicated that he may seek depositions of Walmart representatives but we have
 not received any further notices or subpoenas at this time.

        Thank you for your continued assistance and attention to this matter.

                                             Respectfully submitted,

                                             BARTON GILMAN LLP



                                      By:
                                             Til J. Dallavalle
 TJD/bpo
 Cc: Nicholas P. Scutari, Esq.
